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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIAWAN BRITTON,                        )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
Z & Z FOODS INC,                       )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, TIAWAN BRITTON, by and through the undersigned

counsel, and files this, his Complaint against Defendant Z & Z FOODS INC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                       PARTIES

       3.       Plaintiff TIAWAN BRITTON (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

       4.       Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

       5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       6.       Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.       Defendant Z & Z FOODS INC (hereinafter “Defendant”) is a Georgia

corporation that transacts business in the state of Georgia and within this judicial

district.

       8.       Defendant may be properly served with process via its registered

agent for service, to wit: Kamil Momin, 432 Pigeon Creek Drive, Dawsonville,

Georgia 30534.

                             FACTUAL ALLEGATIONS

       9.       On or about March 3, 2023, Plaintiff was a customer at “Dairy


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Queen,” a business located at 2201 Roosevelt Highway, College Park, Georgia

30337.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately nine (9) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business located at 2201 Roosevelt Highway,

College Park, Georgia 30337 (identified by Fulton County Property Appraiser’s

parcel number 13 002800010992), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations

offered therein were denied and/or limited because of his disabilities, and he will

be denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility once the Facility and Property are brought into

compliance with the 2010 ADAAG standards.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The two (2) accessible parking spaces on the Property are

              inadequately marked, in violation of section 208.2 of the 2010

              ADAAG standards.

      (ii)    The western most accessible parking space on the Property has

              inadequate dimensions and is not adequately marked, in

              violation of sections 502.1 and 502.2 of the 2010 ADAAG

              standards. This space and its associated adjacent access aisle are

              also situated within and overlap the vehicular way of the

              Facility’s drive-thru lane, in violation of section 502.3.4 of the

              2010 ADAAG standards.

      (iii)   The access aisle adjacent to the accessible parking space on the

              Property is not level due to the presence of a ramp within the


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       boundaries of said access aisle, in violation of section 502.4 of

       the 2010 ADAAG standards.

(iv)   There is broken pavement at the base of the accessible ramp on

       the Property, in violation of section 405.7 of the 2010 ADAAG

       standards.

(v)    The side flares of the above-referenced ramp have slopes in

       excess of 1:10 (one to ten), in violation of section 406.3 of the

       2010 ADAAG standards.

(vi)   Due to a lack of parking stops that encourage vehicles to pull

       up far enough to block the accessible route to the entrances of

       the Facility, there are publicly accessible areas of the Property

       having accessible routes with clear widths below the minimum

       36” (thirty-six inches) inches required by section 403.5.1 of the

       2010 ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The sinks in the restrooms in the Facility have exposed pipes

       and surfaces that are not insulated or configured to protect

       against contact with the skin, in violation of section 606.5 of the

       2010 ADAAG standards.


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      (ii)    The paper towel dispensers in the restrooms in the Facility are

              located outside the prescribed vertical reach ranges set forth in

              section 308.2.1 of the 2010 ADAAG standards.

      (iii)   The hand operated flush controls on the commodes in the

              accessible toilet stalls in the men’s restroom in the Facility are

              not located on the open side of the restroom, in violation of

              section 604.6 of the 2010 ADAAG standards.

      (c)     POLICY ELEMENTS

      (i)     The Facility and Property have not been adequately maintained

              in operable working condition for those features of facilities

              and equipment that are required to be readily accessible to and

              usable by persons with disabilities, in violation of section 28

              C.F.R. § 36.211.

      (ii)    Upon information and good faith belief, Defendant fails to

              adhere to a policy, practice and procedure to ensure that all

              features and facilities at the Facility and Property are readily

              accessible to, and usable by, disabled individuals.

      31.     Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to exit and re-enter his vehicle


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while on the Property, and more difficult and dangerous for Plaintiff to utilize the

ramp servicing the Property.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily


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achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:


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(a)   That the Court find Defendant in violation of the ADA and ADAAG;

(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: May 2, 2023.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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